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                          IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF MONTANA \-\                         e\ef'vt.:CEIVED
                                                                                                            JUl 29 2015
                                                                                                 Cl ,:,!<. U S, DISTRICT COURT
        (Full name ofPlaintif£iPetirioner and prisoner                                              t..."TRICT OF MONTANA
        number, if any)                                                                                       HELENA


                         Plaintiff/Petitioner,                            MOTION TO PROCEED
                    "2..cA.G-~ CA,ry G Itl\              Hcv.             IN FORMA PAUPERIS
              VS.




        (Full name of each DefendantlRespondent.
        Do not use et aI.)

                                Defendants.

       1. 	     My name is     2.O\c..-ba      C:::d      e:,l-e..V\ Hov
                                                                  ..
                                                                     tA . In this   ~           



                action, lam (check one): .. ,
                       a petitioner / plaintiff . . 

                       a defendant                 0

                       other (explain)             D _ _ _ _ _ _ _ _ _ _ _ _ ~_ _


       2. 	     In support of my request to proceed without prepayment of fees or costs
                under 28 U.S.C. § 1915, I declare I am unable to pay the costs ofthese
                proceedings and am entitled to relief in the action to which I am or will be a
                party. In support of this application, I answer the following questions under
                penalty of peIjury.

       3. 	     Are you currently employed?        Yes 0           NOr-..
               A. 	   If Yes, state the amount of your take-home salary or wages, your pay
                      period, and the name and address of your employer:


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       Plaintiff/Petitioner's Last Name-:7j~~~~~f:~~                                            Page 1 of6
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       B. 	   If No, state the date of your last employment, the amount of your
              take-home salary or wages, your pay period, and the name and
              address of your last employer:


4. 	   Are you married? Yes     0


       A. 	   If Yes, is your spouse employed? Yes    0    NO~
       B. 	   If Yes, how much does your spouse earn per month? _ _ _ _ __

5. 	   If you are a minor under age 21, what is your parents or guardian's
       approximate monthly income?              .          No
6. 	   In the past twelve months, have you received any money    from any ofthe
       following sources?
       A. 	 Business, profession, or other self-employment       Yes 0         Nof­
       B. 	 Rent payments, interest, or dividends                Yes 0         No     1'­
       C. 	 Pensions, annuities, or life insurance payments      Yes 0         No     I::f:
       D. 	 Disability or workers compensation payments
       E. 	   Social Security or retirement benefits
                                                                 Yes 0
                                                                 Yes 0         NOt-'*­
                                                                               No
       F. 	 Family or friends


                                                                               ~*
                                                                 Yes 0
       G. 	 Gifts or inheritances                                Yes 0
       H. 	 Any other sources (specify) _ _ _ _ _ __             Yes 0

       If the answer to any of the above is Yes, describe each source of money,
       state the amount received, the frequency with which you receive it, and
       what you expect you will continue to receive:


7.     Do you have any cash or checking or savings accounts? Yes
       If Yes, state the total value of all three:
                                                                      0
                                                                               r'\
                                                                             No "'­


8. 	   Do you own any automobiles, real estate, stocks, bonds, securities, trus.t,
       jewelry, art work, other financial instruments, or things ofva~uincluding
       any item of value held in someone else's name? Yes 0        No
       If Yes, describe the property and state its approximate value:


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9. 	      Describe and provide the amount of any housing, transportation, utilities,
          loan payments, or other regular monthly expenses you may have.

                                                            1'10 'Yl t­
10. 	 Name all persons dependent on you for support. State your relationship to
      each person and indicate how much you contribute to their support. If any
      of these individuals are under the age of 18, id~ti( them by using their
      first and lastinitials only.            .	          j"1 0
                                                             ~ J(           .

11. 	 Describe any debts or financial obligations you have, P7Viding the amounts
          ow,d "clto whom th,y      "'~:t U\ e0\                        \)0\C.Y'c ht-0 V<­
12. 	         TO BE COMPLETED BY PRISONERS ONLY
   NOTE: Prisoners are required to submit an official copy of their inmate trust
       account statement for the previous six months in support ofthis Application.
       You should include your account statement with this Application.

          A. 	   State the place of your incarceration:             ~   5\-0 ~
                                             f\oV\wn C\. 	                       ~f ('£>01'1
          B. 	   If you have not been incarcerated at your current institution for the
                 past six months, list all institutions in which you have been
                 incarcerated in the past six months. State when you entered and when
                 you left each institution.


          c. 	   If you have not been incarcerated for the past six months, state the
                 last date on which you were not incarcerated, and list any institutions
                 at which you were incarcerated before your current one:

         D. 	    Have you begun any other lawsu¥hile incarcerated or detained in
                 any facility?    Yes 0       N0l'-(If No, go to Question 13)




                              Motion to Proceed In Forma Pauperis (Revised August 2012)
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        E. 	      For each prior lawsuit you have filed, provide the following
                  information. Attach additional sheets as necessary.

                  I. 	    The court(s) where each lawsuit was filed. (For federal courts,
                          identify the District; for state courts, identify the county. Do
                          not include lawsuits filed in the U.S. District Court for the
                          District of Montana);


                 11.



                 111.




                 IV.




                 v. 	     How and when each lawsuit was resolved (For example, was
                          the case dismissed? Was it settled? Was it appealed? By
                          whom, pl.i","! 0' d,f" ,,"of? h th, "'" 'tilN~;


                 VI. 	

                          facts asserted in this lawsuit; and            1'-/ 	!\;­
                          Whether the prior lawsuit was based upon the same or similar



                 VII. 	

                          mrui"o""   0' fo' f.ilure to """ a dai~,   rrs;
                          Whether any prior lawsuits were dismissed as rivolous,
                                                                            w/ri'h on"


                                                          cour/o~ppeals, name the
       F. 	      If you filed any appeal in any federal
                 '0",«') .nd gi'O d" '''' numb,,(,) .n' t!ev~                 /""
Plaintiff/Petitioner's Last Name 	
                                     M~;;;;~~~::;§~p~a§u~er~iS~(J~R:eVisedAUgUst 2012)
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13. 	 Applicant's Declaration

      A. 	      I understand I must keep the Court informed of my current mailing

                                                                  ye.s
                address and my failure to do so may result in denial of this
                Application without actual notice to me.

      B. 	 I understand the Federal Rules of Civil Procedure prohibit litigants in

                                                   'i G.>
            non-habeas proceedings from using certain information in documents
            submitted to the Court.

                In order to comply with these rules, I understand that

                • 	 social security numbers, taxpayer identification numbers, and

                                                                             yL\
                    financial account numbers must include only the last four digits
                    (e.g. xxx-xx-5271, xx-xxx5271, xxxxxxxx3567);

                • 	 birth dates must include the year!firth ~y (e.g. xx/xx/w6l);
                    and                                 ~ J

               • 	 names of persons under the age of 8 must include initials only
                   (e.g. LX).                       YL)
If my documents (including exhibits) contain      an~Oftheabove listed information, I
understand it is my responsibility to black that information out before sending
those documents to the Court. I understand that if! am a habeas litigant I may, but
am not required to, follow these rules.

 I understand I am responsible for protecting the privacy of this information in a
                                non-habeas case.

      C. 	     (Prisoners Only): I understand that if! am granted permission to
               proceed in forma pauperis I still must pay the full filing fee and the
               Court will collect, when funds exist, a partial filing fee and/or
               monthly payments of20% ofthe preceding month's income credited
               to my prison/jail account as set forth in 28 U.S.c. § 1915(b).



                                           ~~~~~or;m;a~p~a~u~p~er~iS~(:'R:evised August 2012)
Plaintiff/Petitioner's Last Nam~e~~~~~~ 	                                       Page 5 of6


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        D. 	      (Prisoners Only): I understand I may not proceed in forma pauperis if
                  I have filed three lawsuits andJor appeals that were dismissed on
                  grounds the action and/or appeal was frivolous or malicious, or failed
                  to state a claim upon which relief may be granted, unless I am in
                  imminent danger of serious physical injury. 28 U.S.C. § 19l5(g).

        E. 	     I am the PlaintiffIPetitioner in this case and understand the
                 submission of a false statement or answer to any question in this
                 Motion may subject me to penalties for perjury. I, the
                 PlaintiffIPetitioner, declare under penalty of perjury that I have read
                 the above Motion and the information J have set forth within it is true
                 and correct. 28 U.S.C § 1746;]8 U.S.C § 1621.



                                             gnature of PlaintiffiPetitioner

Special Note: Pro Se litigants proceeding in fonna pauperis are not exempt from other fees and
costs associated with prosecuting their actions, including but not limited to copying and witness
fees, It is important to realize that even if you are permitted to proceed in fonna pauperis, neither
the Court nor the Clerk's office can make copies for you free of charge, Copies of documents in
your file cannot be provided to you by the Clerk's Office without a charge of $0.10 per page (for
documents electronically available) or S0.50 (for documents not electronically available) which
must be pre-paid at the time you make your request. Therefore, you should always keep a copy,
for your own records, of all documents you send to the Court or to the Clerk's Office.




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